Case 2:04-cv-04358-TJH-RC Document 4 Filed 06/17/04 Pagelof3 Page ID#:1

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CENTRAL DISTRICT OF CALIFORNIA(C\. |

NOY ee
CASE NUMBER ——
ROMERO
CV04- 4358 NM (CTx) (v
PLAINTIFF(S)
V.

WYETH NOTICE TO PARTIES OF ADR PILOT

DEFENDANT(S). PROGRAM

Dear Counsel,

The district judge to whom the above-referenced case has been assigned is
participating in an ADR Pilot Program. All counsel of record are directed to jointly
complete the attached ADR Pilot Program Questionnaire, and plaintiffs counsel (or
defendant in a removal case) is directed to concurrently file the Questionnaire with the
report required under Federal Rules of Civil Procedure 26(f).

 

 

 

 

 

 

DOCKETED ON CM Clerk, U.S. District Court
JUN 2.47008 [|
06/17/04 By: KLGLOVER
Date BY 001 Deputy Clerk

 

 

 

cc: ADR Program Coordinator

 

 

ADR-8 (01/63) NOTICE TO PARTIES OF ADR PILOT PROGRAM
 

Case 2:04-cv-04358-TJH-RC Document 4 Filed 06/17/04 Page 2of3 Page ID #:2

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER
ROMERO
PLAINTIFF(S) CV04- 4358 NM (CTx)
Vv.
ADR PILOT PROGRAM QUESTION E
WYETH Q ONNAIR'
DEFENDANT(S).

 

 

(1} What, if any, discovery do the parties believe is essential in order to prepare adequately for a settlement
conference or mediation? Please outline with specificity the type(s) of discovery and proposed completion
date(s). Please outline any areas of disagreement int this regard. Your designations do not limit the discovery

that you will be able to take in the event this case does not settle.

 

 

 

 

 

 

 

(2) What are the damage amounts being claimed by each plaintiff? Identify the categories of damage
claimed [e.g., fost profits, medical expenses (past and future), lost wages (past and future), emotional distress,

damage to reputation, etc.] and the portion of the total damages claimed attributed to each category.

 

 

 

 

 

 

 

 

 

ADR-9 (02/04) ADR PILOT PROGRAM QUESTIONNAIRE
 

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(3) Do the parties agree to utilize a private mediator in lieu of the court's ADR Pilot Program?

Yes] No(J

(4) if this case is in category civil rights - employment (442), check all boxes that describe the legal bases of 5
plaintiff claim(s). oF

LJ Title Vii {_] Age Discrimination

[_]42 U.S.C. section 1983 (_] California Fair Employment and Housing Act

{_] Americans with Disabilities Act of 1990 ] Rehabilitation Act

[_] Other

 

 

 

| hereby certify that all parties have discussed and agree that the above-mentioned responses are true and

 

 

 

 

 

correct.
Date Attorney for Plaintiff (Signature)

Attorney for Plaintiff (Please print full name)
Date Attorney for Defendant (Signature)

 

Attorney for Defendant (Please print full name)

 

ADR-9 (02/04) ADR PILOT PROGRAM QUESTIONNAIRE
